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                          IN THE UNITED STATES BANKRUPTCY COURT
  6
  7                                 FOR THE DISTRICT OF ARIZONA

  8   In re:                                               Chapter 7 Proceedings
  9   SKYLER AARON COOK,                                   Case No. 2:20-bk-01730-EFB
 10                                 Debtor.
 11
      JAMES E. CROSS, TRUSTEE,
 12                                                        Adversary No. 2:21-ap-00336-EFB
                                    Plaintiff,
 13
      vs.
 14                                                         NOTICE OF LODGING
      VALLIANCE BANK, SHELBY BRUHN, and                     PROPOSED ORDER
 15
      KATHERINE S. BRUHN,
 16
                                    Defendants.
 17
 18
 19            NOTICE IS GIVEN that pursuant to Rule 9022-1, Local Rules of Bankruptcy Procedure

 20   for the District of Arizona, the attached proposed Order was lodged with the United States

 21   Bankruptcy Court this date.

 22            DATED this 14th day of August, 2023.
 23                                               KAHN & AHART, PLLC
 24                                                 BANKRUPTCY LEGAL CENTER™

 25
                                                  /s/ Krystal M. Ahart, SBN029358
 26                                               Krystal M. Ahart
 27                                               Attorney for Debtor

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